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   7
                              UNITED STATES BANKRUPTCY COURT
   8                             FOR THE DISTRICT OF ARIZONA

   9   In re:                                      Case No.: 2:20-BK-07375- BKM

  10   Fabian Dafonseca Moura,                     (Chapter 13)

  11                                               OBJECTION TO CONFIRMATION OF
                              Debtor.              CHAPTER 13 PLAN
  12

  13
                The State of Arizona, ex rel. The Department of Economic Security
  14
       (Alicia Milan Moura), (hereinafter “the State”) by and through its counsel
  15
       undersigned, hereby objects to confirmation of the above-captioned Debtor’s
  16
       Chapter 13 Plan. The State objects to Debtor’s Plan for Debtor’s failure to
  17

  18   pay his ongoing domestic support obligation.

  19                   MEMORANDUM OF POINTS AND AUTHORITIES
  20
                On June 21, 2020, the Debtor filed his Chapter 13 bankruptcy
  21
       under Title 11 of the United States Code. Debtor has an ongoing current
  22
       support obligation to support his children with Alicia Milan Moura.
  23

  24            According to 11 U.S.C.A. § 1325(a)(8), the court shall confirm a plan

  25   only if “the debtor has paid all amounts that are required to be paid under a



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   1   domestic support obligation and that first become payable after the date of the
   2
       filing of the petition. . . .” 11 U.S.C.A. §1325(a)(8). Debtor’s ongoing current
   3
       domestic support order is $1,625.00 per month. Debtor is now $1,240.00
   4
       behind post-petition through July 31, 2020. Debtor is incurring additional
   5

   6   post-petition child support debt and has failed to comply with the requirements

   7   of 11 U.S.C.A. § 1325 (a)(8) to obtain plan confirmation.
   8
               As Debtor is not making his current monthly child support payments,
   9
       the State also questions Debtor’s ability to fund his plan and maintain his child
  10
       support obligation. 11 U.S.C.A. § 1325(b)(2) clearly states that disposable
  11

  12
       income used to fund a plan does not include money needed to support the

  13   Debtor’s family. Payment of post-petition obligations is an integral part of the

  14   Debtor’s duty to support his dependants and must be weighed by courts in
  15
       determining the Debtor’s ability to comply with a plan. In re Dorf, 219 B.R.
  16
       498, 501 (Bankr. N.D. Ill. 1998).
  17
                For the foregoing reasons, the State of Arizona respectfully requests that
  18

  19   the Court sustain this objection and deny confirmation of the Debtor’s proposed

  20   Plan.
                                 Dated this 13th day of August, 2020.
  21
                                        Mark Brnovich
  22                                    Attorney General
  23                                     /s/Todd Sheridan (#014652)
                                        TODD SHERIDAN
  24                                    Assistant Attorney General
                                        Attorneys for the State
  25                                    of Arizona,ex rel. The
                                        Department of Economic Security



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   1   Original of the foregoing electronically
       filed this 13th day of August 2020 with:
   2
       Clerk, United States Bankruptcy Court
   3   District of Arizona
   4   Copies of the foregoing electronically sent or mailed
       this 13th day of August 2020 to the following:
   5
       Edward J. Maney
   6   Chapter 13 Trustee
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       Debtor
  13

  14   By:/s/PBlascruz
  15
       8895748
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